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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 SHEN ZHEN WO NUO DE ZHI NENG JI
 SHU YOU XIAN GONG SI D/B/A
 FLYNOVA,
                                                  Case No. 23-cv-15628

                        Plaintiff,
 v.                                               Hon. Jeffrey I. Cummings

 THE PARTNERSHIPS and
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE A,

                        Defendants.


      NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FED. R. CIV. P 41(a)(1)

         Pursuant to Federal Rule of Civil Procedure 41(a)(1), Shen Zhen Wo Nuo De Zhi Neng Ji

Shu You Xian Gong Si D/B/A Flynova (“Plaintiff”), hereby voluntarily dismisses its Complaint

against the following Defendants identified on Schedule A, with prejudice, with each party

responsible for its costs and attorneys’ fees:

                    Defendant No.                      Store Name
                           13                    South Mountain Store LLC
                           31                           dealtheworld
                           40                             funtig80
                           46                            health168
                           47                         healthcare-2021
                           60                            maxdmart
                           65                       myyshoppingworld
                           81                          sunnybeauty04
                           90                           winbetter-08
                           91                            Woaiely-ts

Dated: March 21, 2024                                Respectfully submitted,

                                                     /s/ Sofia Quezada Hastings
                                                     Sofia Quezada Hastings
                                                     One of the Attorneys for Plaintiff
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